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       Case 2:20-cr-00567-SB Document 1 Filed 11/13/20 Page 1 of 3 Page ID #:1
                                                                     CLERK, U.S. DISTRICT COURT



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                                                                   CENTRAL DISTRICT OF CALIFORNIA
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8                         UNITED STATES DISTRICT COURT

9                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,            CR No.   2:20-cr-00567 -SB
11                   Plaintiff,           I N F O R M A T I O N

12                   v.                   [18 U.S.C. § 1349: Conspiracy
                                          to Commit Wire Fraud; 18 U.S.C.
13   EDGARDO ZETA MONTALBAN,              § 1028A: Aggravated Identity
                                          Theft]
14                   Defendant.

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17        The United States Attorney charges:
18                                   COUNT ONE
19                             [18 U.S.C. § 1349]
20        Beginning in or before 2013, and continuing through
21   September, 2020, in Los Angeles County, within the Central
22   District of California, and elsewhere, defendant EDGARDO ZETA
23   MONTALBAN and others conspired to commit wire fraud, in
24   violation of Title 18, United States Code, Section 1343.                     The
25   object of the conspiracy was carried out, and to be carried out,
26   in substance, as follows:       Defendant MONTALBAN, who held
27   himself out as an accountant and tax preparer, would ask his
28   clients to invest in a non-existent federal grant program he
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1    called “Suppressed IRS Accounts.”       Defendant MONTALBAN would

2    tell his clients to identify dormant companies that they owned,

3    and to pay him the amount of any outstanding taxes owed for each

4    company.   Defendant MONTALBAN would claim that once the

5    outstanding taxes were settled with the State of California, the

6    grant applications would proceed with the federal government,

7    and eventually pay the grantees millions of dollars for each

8    dormant company.    A co-conspirator would make counterfeit

9    Treasury checks payable to the victim clients for tens of

10   millions of dollars, which defendant MONTALBAN would use as

11   props to entice the victims to pay him.        Defendant MONTALBAN

12   would explain to the victims that they had to pay him in cash in

13   order to protect the secrecy of the grant program.          After the

14   victims paid him, defendant MONTALBAN would make up excuses as

15   to why the Treasury checks had been delayed, and trick the

16   victims into paying him more money, purportedly for expenses

17   necessary to overcome the obstacles to the issuance of their

18   checks.    Throughout this conspiracy, defendant MONTALBAN and his

19   co-conspirators communicated with each other and the victims

20   about this scheme by wire in interstate commerce, defrauding the

21   victims out of at least $4 million.

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1                                    COUNT TWO

2                              [18 U.S.C. § 1028A]

3         Beginning in or before 2013, and continuing through

4    September, 2020, in Los Angeles County, within the Central

5    District of California, and elsewhere, defendant EDGARDO ZETA

6    MONTALBAN, knowingly transferred, possessed, and used, without

7    lawful authority, a means of identification of another person,

8    including counterfeit Treasury checks written out to victims,

9    which law enforcement found in the residence of defendant

10   MONTALBAN on September 2, 2020, during and in relation to a

11   felony violation of Title 18, United States Code, Section 1349,

12   Conspiracy to Commit Wire Fraud, as charged in Count One,

13   knowing that the means of identification belonged to another

14   actual person.

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                                 NICOLA T. HANNA
17                               United States Attorney

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19
                                 BRANDON D. FOX
20                               Assistant United States Attorney
21                               Chief, Criminal Division

22                               RANEE A. KATZENSTEIN
                                 Assistant United States Attorney
23                               Chief, Major Frauds Section
24                               ANDREW BROWN
25                               Assistant United States Attorney
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